Case 3:11-cv-00354-AVC Document 1 Filed 03/07/11 Aiege SAkr48 District Court

District of Connecticut
FILED AT BRIDGEPORT

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"Roberta D. la tabora, Clerk
UNITED STATES DISTRICT COURT FOR THE DISTRICT oF. CONNECTICUT

Deputy Cierk

PRO SE PRISONER CIVIL RIGHTS COMPLAINT

CASE NO. 3) || CV sy AVC)

PLAINTIFF (S)

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vs.

DEFENDANT (S)

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I can bring my complaint in federal court because I am suing:

1. State, county or city employees for violating my
federal rights under 42 U.S.C. Sec. 1983; OR

2. Federal employees for violating my federal rights
under Bivens v. Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. Sec. 1331.

B. PLAINTIFF (S) (THE PERSON(S) FILING THIS COMPLAINT)

1. First Plaintiff

a. Full Name: Deno once\ Dawes

b. Inmate Number: Syoty
c. Correctional facility: wor then Correckrona\ nskkurron

d. State of citizenship: \am ar COW Gdvtem Wis Wario Wa

2. Second Plaintiff
a. Full Name:
b. Inmate Number:
| Cc. Correctional facility:
d. State of citizenship:

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Cc. DEFENDANT (S) (THE PERSON(S) WHOSE ACTIONS YOU ARE COMPLAINING
ABOUT)

ees

1. First Defendant

a. Full Name: ames Lok

b. Rank or Title: Lacvurenany
c. Workplace: Wado voal\- Walker Conreckvone\ sk tucson
2. Second Defendant

a. Full Name: Anthro, Guo Co

OYYALer

Covceckrona\ work warn

b. Rank or Title: Coreeck wo nn)
Cc. Workplace: Macdorger\ = WAKE

3. Third Defendant

a. Full Name: \olvn Woe \
b. Rank or Title: Cove ceX vonn\ Ohta

c. Workplace: odor WAKES Lore eck orn) Wart \S¥\

4. Fourth Defendant
Ye
a. Full Name: \onn DHoerh

b. Rank or Title: Core xr vont\ Xr .
c. Workplace: Wac dowd: WARY C eeedkvorntr\ WORKED

5. Fifth Defendant

a. Full Name: \olwn Dor"
b. Rank or Title: Corceckvono\ Whee

c. Workplace: Wacds Ar) ~ \Paer Covve horn (SHA

6. Sixth Defendant

a. Full Name: \ane Hor™ \

b. Rank or Title: Corr etkiona\ ee oe _
Cc. Workplace: Macdorae\\- WANK YL Correctional Veto

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D. PREVIOUS LAWSUITS RELATED TO THIS CASE

Lawsuit

First
‘R: Court and Date filed: \O Ne

® Caption and Docket No.:

oy Briefly, what was this lawsuit about?

a Did you win or lose? If you lost, did you appeal? If you
appealed, what did the appeals court say?

—_

2. Second Lawsuit

a. Court and Date filed:
b. Caption and Docket No.:

c. Briefly, what was this lawsuit about?

d. Did you win or lose? If you lost, did you appeal? If you
appealed, what did the appeals court say?

3. Third Lawsuit
a. Court and Date filed:
b. Caption and Docket No.:
Cc. Briefly, what was this lawsuit about?
d. Did you win or lose? If you lost, did you appeal? If you

appealed, what did the appeals court say?

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E. OTHER LAWSUITS

1. First Lawsuit

a. Court and Date filed:
b. Caption and Docket No.:

Cc. Briefly, what was this lawsuit about?

d. Did you win or lose? If you lost, did you appeal? If you
appealed, what did the appeals court say?

2. Second Lawsuit
a. Court and Date filed:
b. Caption and Docket No.:
Cc. Briefly, what was this lawsuit about?
d. Did you win or lose? If you lost, did you appeal? If you

appealed, what did the appeals court say?

3. Third Lawsuit
a. Court and Date filed:
b. Caption and Docket No.:
c. Briefly, what was this lawsuit about?
d. Did you win or lose? If you Lost, did you appeal? If you

appealed, what did the appeals court say?

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F. REASON FOR COMPLAINT

Eats enge You
can generally only sue for events that you have already
complained about through the prison grievance process. Tf you
have not followed all the steps in the grievance process
before you come to court, the defendants may be able to get
your case dismissed for “failure to exhaust administrative
remedies.” If your case is dismissed, you will lose your
filing fee.

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You

can generally only sue for events that happened within the
last three years. If you are suing over events that happened
earlier than that, the defendants may be able to get your case

dismissed under the statute of limitations. If your case is
dismissed, you will lose your filing fee.

s You can
generally only sue defendants who were directly involved in
harming you. In order to sue a supervisor, you must usually
show that the supervisor both knew about the actions of other
defendants and failed to stop them. Just being a supervisor
usually is not enough.

You generally cannot sue the following people and entities for
money damages: the State of Connecticut; agencies of the state
(like the Department of Correction); the United States
government; the President of the United States (for actions
taken while President); judges (for actions taken in
connection with judicial duties); parole board officers (for
actions taken in imposing parole conditions or revoking
parole); prosecutors (for actions taken in performing duties
integral to the criminal judicial process). If you think you
have a claim for money damages against such people or
entities, check with Inmate Legal Assistance first, or your
case may be dismissed on the basis of immunity and you will
lose your filing fee.

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re cir . If winning your claims “wo

necessarily imply t invalidity” of a criminal conviction or
prison disciplinary punishment affecting the time served, then
you cannot make these claims under Section 1983 unless you
have already had the conviction or prison disciplinary
proceeding invalidated, for example through a habeas
proceeding. See Heck v. Humphrey, 512 U.S. 477, 487 (1994).

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Statement of Case -

1.

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Tames Lor Ond Correctional olficers

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pursuant to 22 WUS.C Section —

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G. REQUEST FOR RELIEF

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H. Do you wish to have a jury trial? Yes J No

I. DECLARATION UNDER PENALTY OF PERJURY

By signing this complaint, I certify under penalty of perjury that
the information contained in this complaint is true and accurate to
the best of my knowledge. I understand that if I lie in this
complaint, I may be prosecuted for perjury, and punished with as
much as five (5) years in prison and/or a fine of $250,000. See 18
U.S.C. Sections 1621, 3571.

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Signed at Sathond [oer on 3(Bfrolt

Signature:

(Location) (Date) '

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J. FINAL INSTRUCTIONS

1. Sign the Declaration under Penalty of Perjury on p. 9
2. Be sure to include the date with your signature on p. 9
3. Enclose a check for $350 (payable to “Clerk, United States

District Court”) OR a completed Application to Proceed In
Forma Pauperis

4. Enclose one copy of the complaint for the Clerk’s Office.
You do not need to send a copy for each defendant.

5. Send the complaint plus either your application for IFP
status or your check for $350 (payable to “Clerk, United
States District Court”) to one of the addresses below:

e CLERK'S OFFICE, UNITED STATES DISTRICT COURT, 915
LAFAYETTE BOULEVARD, BRIDGEPORT, CT 06604.

® CLERK’S OFFICE, UNITED STATES DISTRICT COURT, 450 MAIN
ST, HARTFORD, CT 06103

e CLERK’S OFFICE, UNITED STATES DISTRICT COURT, 141
CHURCH ST, NEW HAVEN, CT 06510

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Case 3: iT “Cv- S034 BC ‘Document 1 Filed 03/07/14 Page: 15. of 16 ce
inmate Administrative Remedy Form: eft 96
Connecticut Department of C Correction i REV 3th

Inmate name: byes CK.

inmate vubor: pi 28y

“sEcTiON1d “= ¢ SELECT ADMINISTRATIVE REMEDY A, Bort BELOW.

I Cy. (J tam filing ‘an ‘Appeal of a (select one below): .

Follow the instructions (or propery claiins, complete form CN 9609, tostDamaged Property investigation Form and deposit in the ‘Administrat

| Remedies’ box),
A <} tam fi ling. a Grievance.

Prior'fo. filing a gfievarice, ‘you trust attempt informal. resolution. Bt chac ‘copy of CN 9601, Inmate Request Form with
the staff mémber’s response OR OR state in Section 4 the reason whiy the form is riot attached: Grievances must be filed
within 30.days of the dccuitericé or-discovery « of the cause of the Grievarice. > Refer to Section 2 below

. OF > .
B. (C1 tam: requesting a: Health Servicés Review: _ C] Diagnosis/T reatment * Complete S ection4d >>>

C1 Ail Othier Heaith Care Issues:

_Appedls must bé filed within: 15 Sa of notification of a decision.

__[) Disciplinary Action: - > _ Complete Section’3 below
_ L.] Special Management Decision Ci Classi cation Decision” > oe
(_] Media Review Committee Deécision 0 Furlough- Decision > Ce ke
Security Risk Group: Designation’ [-] ADA Decision > Complete Section 4 7
>

'Betermnination of Grievarice Process Abuse _ {] Rejection of Outside Tapes/CDs

~ SECTION 2 OTHER REQUIREMENTS FOR USING THE INMATE ADMINISTRATIVE REMEDY PROCEDURE

. adininistie

Read anid comply with the instructions below, then. complete. Section 4 (State the Problem) on. the reverse side. >>>

On nly-on ie. request fe {oF att administ ative tethnedy: tiust be subniiitied ot thistorire.~
The réquest for an administrative remedy arid the action sought should be stated simply: and: coherently.
The length of this: request-for ari adniitistrative remedy shall be restricted fo the space available ir Section 4 dnd one (1)

‘additional 8 4f2-« 11 inch page.
: This request for an administrative remedy rust be free of obscene or vulgar language or coiitent.

_ This: request for an administrative remedy must be filed: by the lnrmate who i is s personally affected byt the subject of the reque:
“ and Stall not be fi led by an inmate on y behalf, of ariother. a ee Ao

J sections
. LYou may file'a Disciplinary Appeal ONLY ify you ha : = pleaded not guilty and have been found guilty al at. = gare hearing, ifs SQ,
: complete | this section; hen contiplete Sed Section 4 4 (St the Problem), oh the reverse side. opi Bh! OA
f Olferise |Report date:
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“| Did ‘you. have an advocate? a yes ‘Or ho if yes, namie oF advocate: . .
1 Did you identity witness(es) to the investigator? "Dyes oO no. Did your withess(es) testy? - [CT yes’ [1.10

. Name(s) of any witess(es):

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(FOR OFFICIAL USE OnLy) | tora number yb 7 By - lousing: 26 -Us Ws.

“SECTIONT me “STATE THE PROB! fe RAND REQUESTED | RESOLUTION a

} ' Provide ary factual ‘information that is applicable, including any /PeSpOnseS | from staff. State the action that you think should be tal -
fo resolve the problem. PLEASE PRINT.

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ues’ cabled in which reoponding officérs. tock your to. a-flced position on the floor and —
sestiained you. The staff acted profescionally accandirig ta LD. 2.17-Employee Conduct
“os and ED, 6.5-Use of Force. You were seen by Medical whe reported no. notable injuries to.

Loy i oo pode poison: Fe tna OO denied.

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